                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,                  )
et al.,                                       )
                                              )
    Plaintiff,                                )
                                              ) Case No: 4:16-cv-2163-CDP
v                                             )
                                              )
PEOPLE FOR THE ETHICAL                        )
TREATMENT OF ANIMALS, INC., et                )
al.                                           )
                                              )
    Defendant.                                )

 COUNTERCLAIM DEFENDANT CONNIE BRAUN CASEY’S MEMORANDUM IN
OPPOSITION TO COUNTERCLAIM PLAINTIFF ANGELA SCOTT’S MOTION FOR
       LEAVE TO TESTIFY REMOTELY, PURSUANT TO RULE 30(b)(4)

       COMES NOW Counterclaim Defendant, Connie Braun Casey (hereinafter “Casey”), by

and through undersigned counsel, and her Memorandum in Opposition to Counterclaim Plaintiff

Angela Scott’s Motion for Leave to Testify Remotely, Pursuant to Rule 30(b)(4) (hereinafter

“Motion to Testify Remotely”), states as follows:

       PETA and Scott’s Motion for Leave to Testify Remotely should be denied. First, the

general rule is that a plaintiff, such as Scott, must appear for his or her deposition in the forum

where the litigation at issue is pending. Second, Scott is clearly a plaintiff in this matter for the

purposes of the analysis. Third, PETA and Scott have produced no meaningful evidence of

prejudice to either PETA or Scott in connection with Scott appearing in the Eastern District of

Missouri for her deposition. Fourth, there is in fact prejudice to Casey in allowing Scott to give a

deposition from Maryland. Finally, much of the law that PETA and Scott rely upon to support
their position is simply not persuasive on the issue before the Court. Consequently, the Court

should deny the Motion.

       First, the general rule for conducting depositions is that the defendant is entitled to

examine the plaintiff in the forum where the plaintiff has chosen to sue. Undraitis v. Luke, 142

F.R.D. 675, 676 (N.D. Ind. 1992).

       Under the federal rules, the location of a deposition is first left to the party noticing
       the deposition—in this case, the defendant. And, ordinarily, the proper location
       of plaintiff’s deposition is in the form where litigation is pending. However, hardships—
       whether financial, medical, or legal—may override this presumption when sufficiently
       demonstrated. In demonstrating a hardship, it is not sufficient that plaintiff’s attorneys
       make naked assertions rather, well prepared and complete affidavits are necessary to
       corroborate and give substance to the attorneys’ assertions. Warren v. UPS Ground
       Freight, Inc., No. 1:18-CV-00007-SNLJ, 2018 WL 6082955, at *2 (E.D. Mo. Nov. 21,
       2018) (internal quotations and citations omitted).

The presumptive rule is that a plaintiff must appear in the forum where the litigation is pending

barring some set of truly exigent, documented circumstances in a case. Even the cases that

PETA and Scott cite acknowledge this. For example, Ramirez v. Peters, No. 1:08-CV-2686-

RWS-SSC, 2009 WL 10664827, at *3 (N.D. Ga. May 15, 2009), plainly states that generally “a

defendant is entitled to depose a plaintiff in the forum where the case is pending.” In addition,

counsel for Casey has not found any case originating from the Eighth Circuit that imposes some

standard under Fed. R. Civ. P. 30(b)(4) different than the one set out above. There is no reason

to treat such a motion differently than any other motion for protective order where a plaintiff

seeks to avoid appearing in the forum where the litigation is pending.

       Second, PETA and Scott are for all practical purposes the plaintiffs in this case. The only

remaining claim in this case is the claim that PETA and Scott have brought under the

Endangered Species Act against Casey. Furthermore, although Casey initially commenced this

litigation. Casey’s claim was defensive in nature. Casey had already received the mandatory



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written notice of intent to sue from PETA and Scott under 16 U.S.C. § 1540(g)(2)(A)(i) of the

Endangered Species Act. See Complaint [Dkt No. 1] at p. 4, ¶ 11 and Exhibit A attached thereto

(Notice of Intent to File Suit dated November 2, 2016 and Complaint filed on December 30,

2016). PETA and Scott had already announced their intent to sue Casey and necessarily would

have to bring that suit in the United States District Court for the Eastern District of Missouri,

where everyone acknowledges that Casey resides and the chimpanzees at issue reside. It is

evident that even PETA and Scott consider themselves the plaintiffs in this matter in that they

refer to themselves as “plaintiffs” in their own filings in this case. See e.g., Reply Memorandum

in Support of Counterclaim Plaintiffs’ Second Motion to Compel the Deposition of Counterclaim

Defendant Connie Braun Casey [Dkt. No. 140] at pp. 2 and 3. The Court should treat PETA and

Scott as the plaintiffs for the purposes of analyzing this issue. PETA and Scott should not be

allowed to rely on the caselaw addressing defendants’ rights to give depositions in the forum

where they reside—which is far from absolute in its own right.

       Third, PETA and Scott have produced no meaningful evidence of prejudice on the part of

PETA or Scott in allowing Scott’s deposition to go forward in the Eastern District of Missouri.

As noted above, “it is not sufficient that plaintiff’s attorneys make naked assertions rather, well

prepared and complete affidavits are necessary to corroborate and give substance to the

attorneys’ assertions.” Warren, No. 1:18-CV-00007-SNLJ, 2018 WL 6082955, at *2 (internal

quotations and citations omitted). Here, the Court has nothing but the naked assertions of

counsel that Scott has a fear of flying that somehow prevents her from traveling. The Court has

nothing more than the declaration from counsel attached to the Motion. Further, counsel for

PETA and Scott attempt to bolster their position with idle speculation that Scott will not be able

to drive from Maryland to Missouri because there could be winter weather conditions that might



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make such travel more difficult. The position of counsel for PETA and Scott is unpersuasive.

Initially, it should be noted that there are a range of options available to Scott if she desires to

avoid flying and driving on her own. There are trains and buses that routinely go between St.

Louis, Missouri and the Maryland. PETA and Scott have not explained why either of those

alternatives would not be viable options.

        More importantly, though, PETA and Scott’s position—that it is unduly burdensome for

Scott to present herself in the Eastern District of Missouri for a deposition—is belied by the

conduct of PETA and Scott in connection with this matter. It should be noted that Scott would

not be able plausibly claim the “aesthetic injury” she currently claims in this matter if she had

not spent significant time in the Eastern District of Missouri forming some alleged bond and/or

affection for the chimpanzees at issue in this case. Furthermore, Scott has participated in

undercover recording and filming of both Casey and her facility in coordination with PETA

purely for the purposes of preparing for the instant litigation.1                  See PETA’s Answers to

Interrogatories at Interrogatory No. 7 attached hereto as Exhibit A (acknowledging Scott’s 2016

“visit” to Casey’s residence). It is evident that Scott can travel to the Eastern District of Missouri

when it serves her purposes.

        Fourth, there is a prejudice to Casey if Scott’s deposition is not conducted in an in-person

setting in the Eastern District of Missouri. Anyone who has taken a deposition is aware that it is

mechanically easier and more effective when all parties are physically present in the same place.

However, the real burden to Casey in this case is the needless expense that she is being forced to

incur merely to discover what Scott will testify to in this case and to learn first-hand the details

of the accusations Scott is making against Casey. Casey either needs to pay for her attorneys to

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 Casey will submit copies of the video recordings to the Court if the Court deems them necessary for review in
connection with this Motion. As the Court is no doubt aware, there is not a simple way to attach video files as an
exhibit to a filing using the ECF system.

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travel to Maryland area to take the deposition of Casey, or she must incur the expense of a more

complex videoconferencing service to take an effective deposition of Scott.

          Finally, much of the law upon which PETA and Scott rely does not persuasively support

their position. For instance in Ramirez, the court actually found that traveling from Texas to

Atlanta, Georgia for a deposition was not an unreasonable burden to impose on a plaintiff. No.

1:08-CV-2686-RWS-SSC, 2009 WL 10664827, at *3.                PETA and Scott also cite Playboy

Enterprise Int’l, Inc. v. Smartitan (Singapore) Pte. Ltd., arguing that “to travel in excess of thirty

hours round-trip to be deposed in Chicago would place an unnecessary hardship on him.” No. 10

C 4811, 2011 WL 5598358 at *2 (N.D. Ill. Nov. 17, 2011). PETA and Scott do not explaint that

the witness in question was the defendant’s corporate representative who would be traveling

from Hong Kong to Chicago and had never flown out of the country for business related matters

before.     Id.   PETA and Scott also cite Packard v. City of New York, to argue that a

videoconference deposition would cause minimal prejudice “since the City will be able to

observe [the deponent’s] demeanor through the video connection. 326 F.R.D. 66, 68 (S.D.N.Y.

2018). Again, PETA and Scott omit the fact that the Court ruled to allow a video conference in

part because the party to be deposed was from in Taiwan. Cases such as this are simply not

analogous to the case that confronts the Court here.

          WHEREFORE, Counterclaim Defendant Connie Braun Casey prays that this Court deny

Scott’s Motion to Testify Remotely in its current form and, for such other and further relief as

this Court deems necessary and proper under the circumstances.




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                                           CHAMPION, LLC.

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was sent by email and the Court’s electronic filing system on this 28th day of January 2019 to:

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